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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
v.                                                            CASE NO.1:88CR1026-MMP/AK

JOSE SEPULVEDA,

      Defendant.
___________________________/

                                          ORDER

       This § 2255 matter is before the Court on Doc. 3475, Motion for status report update, by

Jose Sepulveda. The motion is GRANTED. Defendant’s motion to vacate is presently third in

line for decision and will be decided in due course. The Clerk is hereby DIRECTED to forward

Defendant a copy of the portion of the docket sheet covering the year 2007 forward, so that he

may update his records.

       DONE AND ORDERED this            1st   day of February, 2008.


                                     s/ A. KORNBLUM
                                     ALLAN KORNBLUM
                                     UNITED STATES MAGISTRATE JUDGE
